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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION

UNITED STATES OF AMERICA *                     CRIMINAL NO. 6:25-CR-00139 (4)

                       Plaintiff       *       SENTENCING
                                               ENHANCEMENT
V.                                     *       INFORMATION

MICHAEL PAUL MARTINEZ                  *       [Vio: 21 U.S.C. 841(a)(1) & (b)(1)(B)(viii)
                                               Enhancement Information,
                       Defendant       *       Prior Serious Violent Felony Conviction]

THE UNITED STATES ATTORNEY CHARGES:

       Before the Defendant,

                                   MICHAEL PAUL MARTINEZ,

committed the offense charged in this case, the Defendant had been convicted of the following

serious violent felony offense:

       On November 17, 1995, MICHAEL PAUL MARTINEZ was convicted of Murder,
       in Cause No. 45493 in the 27th District Court of Bell County, Texas, and was
       sentenced to twenty years in the custody of the Texas Department of Criminal
       Justice;

for which the Defendant served a term of imprisonment of more than 12 months, and for which

the Defendant’s release from any term of imprisonment was within 15 years of the commencement

of the instant offense.    As a result of that conviction, the Defendant, MICHAEL PAUL

MARTINEZ, is subject to increased punishment under Title 21, United States Code, Sections

841(a)(1) and (b)(1)(B)(viii).

       The United States Attorney for the Western District of Texas files this information, before

trial and before entry of a plea of guilty, and hereby notifies the Defendant that upon his conviction

for the offense charged in the above numbered Indictment, the Government will move the Court

to enhance Defendant's sentence for said offense pursuant to the sentencing provisions of Title 21,
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United States Code, Section 841(b)(1)(B)(viii), which provides for a term of imprisonment of

not less than 10 years imprisonment with a maximum of life imprisonment, a fine not to

exceed $8,000,000, and at least 8 years of supervised release, and notwithstanding any other

provision of law, the court shall not place on probation or suspend the sentence of any person so

sentenced.

       The United States hereby informs the Defendant that it intends to rely on the prior

convictions set out above to enhance the Defendant's sentence as set out in this information. This

information is filed pursuant to the requirements of Title 21, United States Code, Section 851.

                                             Respectfully submitted,

                                             MARGARET F. LEACHMAN
                                             Acting United States Attorney



                                     By:     MARY F. KUCERA
                                             Assistant United States Attorney
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                                 CERTIFICATE OF SERVICE

       This is to certify that on 29th day of May, 2025, a true and correct copy of the foregoing

instrument was electronically filed with the Clerk of the Court using the CM/ECF System which

will transmit notification of such filing to the following CM/ECF participant:

       Chad Morgan
       Attorney for Defendant




                                             MARY F. KUCERA
                                             Assistant United States Attorney
